Case 7:20-cr-00040-DC Document1 Filed 12/23/19 Page 1 of 1

 

AO 91 (Rev. 08/09) Criminal Complaint V ata
UNITED STATES DistRIcT CourT FILED
for the
Western District of Texas DEC 2 3 2019
CLERK, U.S. DISTR;
United States of America ) Bro NOBRET OF eae
Vv. )
Chanel Loren TRIM ) Case No. EPUTY CLERK
) : .
7 1A-M ~Y 36-01
)

Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of | = December 20,2019 ~—___ in the county of Midland, Texas in the
Western __—Districtof = Texas ———___, the defendant(s) violated:
Code Section Offense Description
Title 21 USC 841(a)(1) did knowingly and intentionally possess with intent to distribute a quantity of

Cocaine Base "Crack" a schedule | Controlled Substance

This criminal complaint is based on these facts:
SEE ATTACHMENT

@ Continued on the attached sheet.

VE

freneiaiaa 's Mgnature

James Dolan MPD Detective
Printed name and title

Sworn to before me and signed in my presence.

    

Date: 12/23/2019

udge 's Signature

City and state: ____ Midland, Texas _ _____ Ronald Griffin U.S. Magistrate Judge

Printed name and title
